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United States District Court, Northern District of IIlinois

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

Name of Assigned Judge Samuel Der_YeghiayaI-l Sitting Judge if OIher
or Magistrate Judge than Assigned Judge
CASE NUMBER 03 C 7485 DATE 8/12/2004
CASE Patti McCarthy vs. Czarnovvski Display
'I`ITLE
[ln the followinglbox (a) indicate the party filing the motion, e.g., plaintiff`, defendant 3rd party plaintit`f`, and (b) slate briefly the nature

MOTION: of the motion being presented.]

DOCKET ENTRY:

(1) L__l Filed motion of [ use listing in “Motion” box above.]

(2) |:| Brief in support of motion due

(3) |:l Answer brief to motion due . Reply to answer brief due

(4) El Ruling/Hearing on Set for at

(5) |:l Status hearing[heldjcontinued to] [set for/re-set for] on set for at

(6) |:| Pretrial conference[heldfccntinued to] [set for/re-set for] on set for at

(7) |:| Trial[sct for/re-Set for] on at

(8) |:l [Bench/Jury trial] [Hearing] held/continued to at

(9) I:l This case is dismissed [with/without] prejudice and without costs[by/agreement/pursuant to]

|] FRCP4(m) |:l Local Rule 41.1 l:| FRCP4l(a)(l) |:l FRCP4l(a)(2).

(10) l [Other docket entry] Status hearing set for 09/07/04 is reset to 10/28/04 at 9 :00 a.m. For the reasons
sated in the attached memorandum opinion, the defendant’s motion to dismiss plaintiff s complaint is
granted in part and denied in part. The defendant is given leave to file a new motion to dismiss for lack
of subject matter jurisdiction by 08/26/04. PlaintifF s response is to be filed by 09/09/04 and defendant’s
reply is to be filed by 09/16/04. Enter Memorandum Opinion.

(l l) l [For further detail see order attached to the original minute order.]

No notices required, advised in open couct.

No notices rcquired.

Notices mailed by judge’s staff.

Notified counsel by telephone. dale dwch

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
PATTI MC CARTHY AND )
THOMPSON MC CARTHY, INC. )
n/k/a PATMA, INC., )
)
Plaintiffs, )
)
v. ) No. 03 C 7485
)
CZARNOWSKI DISPLAY SERVICE, )
INC., a/k/a THE MILESTONE GROUP, )
)
Defendant. ) FFWE ”,'§”41"? ry
AUG j f
et 2004
MEMORANDUM OPINION

 

SAMUEL DER-YEGHIAYAN, District Judge
This matter is before the court on Defendant Czarnowski Display Service,
Inc.’s (“Czarnowski”) motions to dismiss for the reasons stated below, we grant the

motion in part and deny the motion in part Without prejudice

BACKGROUND
In September 2000, plaintiff Patti McCarthy (“McCarthy”), a Georgia
resident, entered into an agreement With defendant Czarnowsl<i, an Illinois

corporation With its principal place of business in Illinois. In that agreement

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McCarthy and her business partner, who is not a party to this action, agreed to sell
their Georgia based business, Thompson McCarthy, lnc. (“TMI”), to Milestone
Group, Inc. (“Milestone”), believing at the time that Milestone was a wholly owned
subsidiary of Czarnowski. McCarthy now contends that Milestone was never
separately incorporated and therefore brings her complaint against Czarnowsl<i
directly. Under the Asset Purchase Agreement between the parties, Milestone
agreed to pay $950,000 for TMI, with $525,000 due at closing and the remainder
paid in quarterly payments over the following three years. Czarnowski, in its own
name, formally guaranteed Milestone’s obligations under this agreement

McCarthy and Milestone entered into three additional contracts pertaining to
the deferred S425,000 portion of the purchase price: a Secured Promissory Note, a
Security Agreement, and a Pledge Agreement. Czarnowski again signed for
Milestone’s obligations on the promissory note. In the Pledge Agreement,
McCarthy agreed to accept Czarnowski’s capital stock in Milestone as security for
the deferred balance, believing that Milestone was incorporated separately from
Czarnowski. In support of her belief, McCarthy points to clauses both within the
agreements themselves and in ancillary correspondence from Czarnowski referring
to Milestone as an Illinois corporation

At the same time that McCarthy negotiated the sale of her business, she also

entered into an employment agreement with Milestone. Milestone agreed to employ
McCarthy until December 31, 2003, with a base salary of $125,000 for 2003 and the
potential to earn a $25,000 bonus if company sales exceeded $7 million for 2002. In
addition, McCarthy received four weeks of paid vacation per year, a car allowance
of approximately $5 00 monthly, access to company benefit plans and the right to
reimbursement of reasonable expenses incurred while conducting the company’s
business The agreement also specified that McCarthy could terminate her
employment at any time for contractually defined “good reason,” including reduction
in her compensation Upon termination for “gocd reason”, McCarthy had a
contractual right to the balance of her annual compensation as well as unpaid
expenses However, the agreement also contained a restrictive covenant, effective
for two years after termination of the employment agreement, which specified that
McCarthy would forfeit all incentive and other specified compensation owing or
previously paid if she breached the covenant.

The parties apparently fulfilled their contractual obligations without incident
until May 15, 2003, when McCarthy was supposed to receive her bonus under the
employment agreement She claims that, although company sales exceeded $7
million in 2002, she did not receive her bonus. Later that summer, the head of

Milestone requested that McCarthy take a leave of absence from herjob, with an

understanding that she would not be compensated while she was on leave.

McCarthy agreed, but claims that she Was still required to perform company business
during her leave without salary or compensation for her expenses In September of
2003, McCarthy gave written notice to the company that she was terminating her
employment, claiming that the company unilaterally reduced her compensation and
thereby provided her with contractual “good reason” to resign.

McCarthy claims that Milestone has failed to pay her 2002 bonus or the
balance of her 2003 salary and has also failed to reimburse her company expenses
In addition, she claims that the company refused to pay for her accrued, but unused,
vacation time and refused to return her personal property left on its premises
According to McCarthy, Milestone now wrongfully claims that it fired her for
“cause” and that such termination gave the company a right to seek damages against
her. By making this claim, McCarthy further contends, Czamowski has breached its
implied duty of good faith and fair dealing under the employment agreement

On October l, 2003, in the midst of the employment dispute, the final
payment under the purchase agreement became due. Czarnowksi refused to make
the final payment in a letter dated September 29. McCarthy responded to that
refusal by letter on October l and then sent a written notice of default and demand

for payment on October 17. While the exact facts are unclear from the complaint, it

 

appears from the October 1 letter either that Czarnowski paid some portion of the
amount owed or that McCarthy recovered that portion from her security interest In
either case, McCarthy filed this lawsuit on October 22, 2003, seeking to recover the
outstanding balances of the purchase and employment agreements as well as her
unreturned personal property. McCarthy also seeks a declaratory judgment
invalidating the restrictive covenant in the employment agreement enforcing the
security agreement and declaring that McCarthy is not liable to Czarnowski for
damages under the employment agreement In addition, McCarthy claims that
Czarnowski fraudulently induced her into accepting stock in Milestone, a non-
existent corporation, as security for the purchase agreement. She claims that this
deception left her with a security interest worth significantly less than the value she

bargained for and seeks both compensatory and punitive damages

LEGAL STANDARD
In ruling on motions to dismiss, the court must draw all reasonable inferences
that favor the plaintiff, construe the allegations of the complaint in the light most
favorable to the plaintiff, and accept as true all well-pleaded facts and allegations in
the Complaint. Thompson v. Illinois Dep't of Profl Regulation, 300 F.3d 750, 753

(7th Cir. 2002); Perkins v. Silverstein, 939 F.2d 463, 466 (7th Cir. 1991). On a

12(b)(1) motion to dismiss, the court “shall dismiss” if it determines that it “lacks
jurisdiction of the subject matter.” Fed. R. Civ. P. 12(h)(3). The allegations of a
complaint should not be dismissed on a 12(b)(6) motion for failure to state a claim
"unless it appears beyond doubt that the plaintiff can prove no set of facts in support
of his claim which would entitle him to relief." Conley v. Gibson, 355 U.S. 41 , 45-
46 (1957). Nonetheless, in order to withstand a motion to dismiss, a complaint must
allege the "operative facts" upon which each claim is based.Kyle v. Morton High
Sch., 144 F.3d 448, 454-55 (7th Cir. 1998);Lucien v. Preiner, 967 F.2d 1l66, 1168
(7th Cir. 1992). The plaintiff need not allege all of the facts involved in the claim
and can plead conclusions Hz`ggs v. Carter, 286 F.3d 437, 439 (7th Cir. 2002);Kyle,
144 F.3d at 455. However, any conclusions pled must "provide the defendant with at
least minimal notice of the claim," id., and the plaintiff cannot satisfy federal
pleading requirements merely "by attaching bare legal conclusions to narrated facts

which fail to outline the bases of [his] claim."Perkins, 939 F.2d at 466-67.

DISCUSSION

I. Forum Selection Clause

Czarnowski argues that Counts V, VI, and VII should be dismissed because of

improper venue. McCarthy’s employment contract contained the following
provision:

This agreement shall become effective upon its execution by both parties and

it shall be construed and enforced in accordance with the internal laws of the

State of lllinois with venue in the applicable circuit courts of Cook County,

Illinois, irrespective of the fact that either of the parties now is or may become

a resident of a different state. Both parties hereto waive any objection they

may have to the jurisdiction or venue of such courts
Czarnowski claims that the clause at issue is a mandatory forum selection clause
while McCarthy claims it is a permissive clause, merely designating one acceptable
forum without foreclosing others If the clause is mandatory, Czarnowski contends
that this court should enforce the clause by dismissing Counts V, VI, and VII for
improper venue.

Mandatory forum selection clauses are ‘prima facie valid” and courts will
enforce them “unless the opposing party shows that enforcement would be
unreasonable under the circumstances.” Calanca v. D & S Mfg. Co., 510 N.E.2d 21,
23 (Ill. App. Ct. 1987). A l2(b)(3) motion is the proper manner for a litigant to
challenge venue based upon a forum selection clause, and Czarnowski has filed a
lZ(b)(3) motion in this case. E.g. Contl. In.s'. CO. v. M/V Orsul@ 354 F.3d 603, 606-

07 (7th Cir. 2003). Where a clause specifies venue with “mandatory or obligatory

language,” the clause is a mandatory forum selection clause, limiting litigation to the

designated venue Paper Express Ltd. v. Pfankuch Maschinen GmbH 972 F.2d 753,
757 (7th Cir. 1992). If the clause refers instead to “jurisdiction,” it is generally not
mandatory unless some further language expresses the parties’ intent to make venue
exclusive Id.

ln the instant action, the forum selection clause provision in McCarthy’s
employment contract refers to venue specifically, rather than mere jurisdiction,
stating that the agreement will be enforced “with venue in the applicable circuit
courts of Cook County, Illinois” The provision also uses the phrase “shall be
construed and enforced” in describing the selected venue, which is obligatory
language See Calanca, 510 N.E.2d at 22-23 (noting that courts interpret “shall” as
mandatory language in a forum selection clause). While that language more clearly
refers to the Illinois choice of law provision than to the venue provision, there is no
other verb phrase between the two provisions As such, the same obligatory
language attaches to both provisions, rendering venue mandatory in Cook County
circuit courts

In support of her contention that the clause is permissive McCarthy cites two
Northern District cases, but both are distinguishable First, McCarthy refers to
Midwest Media Adver., Inc. v. Heritage ll/fktg., Inc., 1992 WL 121522 CN.D. Ill.

1992). l-Iowever, the language at issue in that case only referred to “jurisdiction.”

Id. at *l. Similarly, in Saxena v. Vtrtualabs, Inc., 2002 WL 992636 at *1 (N.D. Ill.
2002), the mandatory language refers only to “jurisdiction,” while venue appears in
a distinct waiver clause Because the Seventh Circuit has held that use of the word
“jurisdiction” generally creates a permissive clause, while use of the word “venue”
in conjunction with mandatory or obligatory language creates a mandatory forum
selection clause, neither of these cases accurately captures the clause at issue in this `
case Paper Express Ltd., 972 F.2d at 757.

Having found the clause mandatory, we turn next to the question of
enforcement lf a forum selection clause is included in an agreement the clause is
“prz`ma facie valid and should be enforced unless the opposing party shows that
enforcement would be unreasonable under the circumstances.” Calanca v. D & S
Mfg. Co., 510 N.E.2d 21, 23 (lll. App. Ct. 1987). In determining whether a forum
selection clause is unreasonable a court should consider: "(1) which law governs the
formation and construction of the contract; (2) the residency of the parties involved;
(3) the place of execution and/or performance; (4) the location of the parties and
witnesses participating in the litigation; (5) the inconvenience of the parties of any
particular location; and (6) whether the clause was equally bargained for." Id.;
Roberts & Schaefer Co. v. Merit Contractz`ng, Inc, 99 F.3d 248, 252 ('7"‘ Cir.

1996)(citing Calanca). The court should also consider whether the opposing party

has shown “that enforcement would contravene the strong public policy of the state
in which the case is brought.” Yamada Corp. v. Yasuda Fire and Marine Ins. Co.,
Ltd., 712 N.E.2d 926,930-34 (Ill. App. Ct. 1999). In considering the potential
inconvenience to the parties caused by the forum selection clause the court should
inquire as to whether “the chosen forum would be so seriously inconvenient for trial
that the opposing party would be deprived of his or her day in court” and whether or
not “both parties freely entered into the agreement contemplating such
inconvenience should there be a dispute.” Ia'.

McCarthy does not attempt to show that enforcement would be unreasonable
in this case. McCarthy has already chosen to file her complaint in a federal court
geographically seated in the specified forum in the employment contract provision
which is also an indication that proceeding in the Circuit of Cook County courts
would not be overly burdensome The language of the clause provides that the
employment contract in which it appears must be “construed and enforced” by Cook
County courts Accordingly, we dismiss Counts V, Vl, and VII based upon

improper venue

II. Particular'gv of Fraud Claim

Czarnowski argues that McCarthy failed to plead her fraud claim in Count IV

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of her complaint with adequate specificity as is required under Federal Rule of Civil
Procedure 9(b). Under Rule 9(b), a plaintiff raising a fraud claim must plead certain
particulars of that claim, including the identity of those who made the
misrepresentation as well as the time, place and substance of the misrepresentation
Uni*Qualily, Inc. v. [nfotronx, Inc., 974 F.2d 918, 923-24 (7th Cir. 1992). If the
complaint relies upon allegations made on information and belief, it must include the
grounds for those suspicions Id. at 684.

McCarthy alleges in her complaint that as part of the purchase agreement
Czarnowski pledged stock in Milestone Group, Inc., and created the false impression
that Milestone was an Illinois Corporation by making representations to McCarthy
and by producing an apparently false stock certificate identifying Milestone as a
separate corporations McCarthy contends that she was tricked by Czarnowski into
believing that the stock had sufficient value to provide security for the purchase
agreement and alleges that she has not been able to recover the amount due to her in
part because of the lack of value of the security. McCarthy also attached to her
complaint documents many of which are dated, bear the signatures of Czarnowski
employees including its vice president and refer to Milestone, in various phrases as
a separately incorporated subsidiary of Czarnowski. For example the Asset

Purchase Agreement, dated September 29, 2000 and signed by Czarnowski’s vice

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president Scott Levitt identifies Milestone as an Illinois corporation (Ex. A, Tab
3). It further states that the parties would close on their agreement on September 30,
2000 at 11:59 arn in Czarnowski’s Atlanta, GA office, at which time they would
exchange several of the other documents included as exhibits These other
documents include the Pledge Agreement, which has as its attachment the allegedly
fraudulent stock certificate for 1,000 shares of Milestone stock, signed by Scott
Levitt and dated September 22, 2000. (Ex. A, 'l`ab 8). While McCarthy alleges
merely “on information and belief” that Czarnowski never separately incorporated
Milestone, we think that it is fair to infer from later paragraphs that her suspicion
derives from the diminished value of her security interest in Milestone (Compl. 10,

47, 48). Therefore, we deny the motion to dismiss Count IV.

III. Amount in Controversy

Czarnowski moves to dismiss this action for failing to meet the amount in
controversy requirement One condition that must be met before a district courthas
Subj ect matter jurisdiction over a civil action is that the matter in controversy must
“exceed[] the sum or value of $75,000.” 28 U.S.C. § l332(a). We cannot make a
proper determination on the amount in controversy issue due to the inadequate

briefing on this issue by both sides in this action. McCarthy has touched in her

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briefs on many potential bases for recovery but has failed to address the alleged
bases with the specificity needed for this court to make an informed decision on this
issue For instance McCarthy has brought a conversion claim and alleges in her
complaint that Czarnowski refuses to return to her personal items including “three
large bronze candlesticks and various leather skins.” (Compl. 63.). However, in
McCarthy’s answer brief to the instant motion she fails to offer even an estimated
value of the candlesticks and leather skins and fails to explain if those items are the
entire list of personal items that Czarnowski refuses to return that are referred to in
the complaint Czarnowski has also failed to adequately address the amount in
controversy issue Despite the many bases for recovery asserted by McCarthy,
Czarnowski devotes a half page in its motion to dismiss to the amount in controversy
argument Czarnowski specifically touches only on the asserted basis for recovery
for the breach of the purchase agreement and an asserted basis for recovery under the
employment agreement Czarnowski makes only a general reference to the other
asserted bases for recovery by McCarthy and states in a conclusory fashion that the
amount in controversy requirement is not met in this action. Therefore, we deny the
motion to dismiss all remaining claims for lack of subject mater jurisdiction without

prejudice

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CONCLUSION
Based on the foregoing analysis we grant the motion to dismiss Counts V, VI,
and VII for improper venue We deny the motion to dismiss Count IV. We deny the
motion to dismiss the remaining claims without prejudice Czarnowski must file a
new motion to dismiss for lack of subject matter jurisdiction by 8/26/04. The answer

will be due 9/9/04. The reply will be Due 9/16/04.

SamuelDer-Yeghiayanf w '
United States District Court Judge

Dated: August 12, 2004

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